Case 1:01-cV-01149-.]DB Document 13 Filed 07/14/05 Page 1 of 2 Page|D 24

lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

EASTERN DIVISION
"` l .
Petition for Court Approval of a _ " §
Minor’ s Settlernent for KACI BAILEY, J 8 y
individualiy, ana RHONDA HoRNBEAK, as * UL f 4
l\/lother and next friend of KACI BAILEY, * r/b%& 2005
=\= U 44
W "5`. ' G
>k ' O_ O£?deraU/C:;JO/sm
Plaintiffs, * ' J°¢/fs;
*
vs. * NO: 01-1149
*
DAVID G. KARR, and SCHNEIDER NATIONAL * JURY DEMANDED
CARRIERS, INC. *
*
Defendants. *
ORDER TO ACCESS FUNDS

 

THIS CAUSE came on to be heard upon the entire record in this cause, but
particularly and especially upon Plaintifi`s Motion to Access Funds on the basis that the
Plaintiff, Kaci Bai]ey, has reached the age of majority and is therefore entitled to receive
her settlement proceeds, and for good cause shown, it is, therefore:

ORDERED, ADJUDGED AND DECREED that Plaintiff’ s Motion to Access
Funds is hereby granted, and that said settlement proceeds are to be released to the

Plaintiff, Kaci Bailey.

ENTERED this l'§k day of %

\
o RABLE J. DANIEL BREEM

   

UNITED sATES DTRISIC COURT - WETERN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number l3 in
case 1:01-CV-01149 Was distributed by faX, mail, or direct printing on
July lS, 2005 to the parties listed.

 

 

Kyle E. CroWe
CROWE LAW FIRM
P.O. Box 500

Martin, TN 38237

Carl Wyatt

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

